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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


NATALIE REESER,
                                             Case No.: 2:14-cv-11916-GCS-MJH
             Plaintiff,
                                             Hon. George Caram Steeh
v.                                           Magistrate Judge Michael Hluchaniuk

HENRY FORD HOSPITAL,

             Defendant.
                                                                                   /
MILLER COHEN, P.L.C.                         VARNUM LLP
Keith D. Flynn (P74192)                      Terrence J. Miglio (P30541)
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                                                                                   /

     PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO COMPEL

       NOW COMES Plaintiff Natalie Reeser, by and through her attorneys, Miller

Cohen, P.L.C., and for her Response to Defendant’s Motion to Compel, states as

follows:

       Defendant’s motion to compel is entirely frivolous and devoid of any merit.

It claims that Plaintiff refused to execute (1) an authorization for medical records

from Henry Ford Health System (“HFHS”); (2) an authorization for employment
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records from a previous employer, Davis Smith, Inc., and (3) an authorization for

employment records from Plaintiff’s current employer. Plaintiff responds to these

claims as follows: First, Plaintiff refused to execute an authorization for medical

records from HFHS because there was no formal discovery request for these

documents. Second, Plaintiff never refused to execute an authorization for

employment records from Davis Smith, Inc. In fact, Plaintiff executed a blank

authorization for all employment records and Defendant subpoenaed records from

Davis Smith, Inc. Defendant never brought it to Plaintiff’s attention that she had to

execute new authorizations for employment records due to the expiry of the previous

authorization after six months. In any event, without honoring the six-month

expiration of Plaintiff’s authorization, on February 13, 2015, Defendant issued a new

subpoena for updated records to Davis Smith, Inc. (Exhibit 3) This issue is therefore

entirely moot. Third, Plaintiff never refused to execute an authorization for

employment records from her current employer. She only started this employment

about two weeks before Defendant filed its motion and therefore she had not yet

provided Defendant with the signed authorization.

      1.     Plaintiff Natalie Reeser (“Plaintiff”) admits that her complaint alleges

claims of retaliation under the Fair Labor Standards Act and violation of Michigan’s

Whistleblowers’ Protection Act.




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      2.     Plaintiff admits that on July 2, 2014, Defendant Henry Ford Hospital

(“Defendant”) served Plaintiff with its First Set of Interrogatories, including generic

authorizations for the disclosure of Plaintiff’s medical, psychotherapy, and

employment records to be executed by Plaintiff. (Docket No. 23-2)

      3.     Plaintiff admits that on August 1, 2014, she timely served Plaintiff’s

Answers to Defendant’s First Interrogatories, including answers to Interrogatories

No. 1, 4 and 5. (Docket No. 23-3) Plaintiff objected to Interrogatory No. 1 Her

answer made clear that the reason she did not execute and provide the authorizations

with her answer was because Defendant had not yet responded to Plaintiff’s

proposed protective order.

      4.     Plaintiff admits that she answered Interrogatories No. 4 and 5. (Docket

No. 23-3)

      5.     The Court entered the parties’ Stipulated Protective Order on August

13, 2014. (Exhibit 1) Plaintiff admits that, following the entry of the Stipulated

Protective Order, on September 2, 2014, she provided authorizations for the release

of medical records and psychotherapy notes to Dr. Reza Kahnamouei, M.D. She also

provided a blank generic authorization for employment records, signed on July 1,

2014. (Docket No. 23-4)

      6.     Plaintiff admits that Defendant subpoenaed Plaintiff’s records from Dr.

Kahnamouei and employers, including Davis Smith, Inc., her employer at the time.


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      7.    Plaintiff is unable to admit or deny due to lack of knowledge.

      8.    Plaintiff admits that Defendant’s counsel emailed Plaintiff’s counsel on

October 1, 2014, asking Plaintiff to execute the attached HFHS Medical and

Psychotherapy Authorizations. (Docket No. 23-5) This email was not a formal

discovery request requiring a response from Plaintiff. There was no formal

discovery request to which these documents would be responsive.

      9.    Plaintiff admits that on January 13, 2015, Defendant’s counsel emailed

Plaintiff’s counsel indicating that he had not yet received executed authorizations

from Plaintiff. (Docket No. 23-6)

      10.   Plaintiff admits that on February 5, 2015, she served Supplemental

Answers to Defendant’s First Interrogatories. (Docket No. 23-7)

      11.   Plaintiff admits that her Answer and Supplemental Answer to

Interrogatory No. 1 were as follows:

      INTERROGATORY NO. 1

             For any individuals, including doctors, psychologists, social workers,
      medical personnel, or other care givers, who have examined or treated you for
      any illness, injury, or condition you allege in the Complaint that you suffered
      as a result of the alleged conduct of the Defendant, please:
             a.     State the name and address and specialty, if any, of the
                    individual(s) who examined or treated you;
             b.     State the specific illness or condition that was treated; and
             c.     State the dates and type of examination and/or treatment.

           For each and every medical practitioner, psychologist, counselor, social
      worker, or care giver listed above, please complete, sign, and return with your
      answers to these Interrogatories an Authorization for the Release and
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      Disclosure of Medical Records and Protected Health Information and an
      Authorization for the Release and Disclosure of Psychotherapy Notes.
      (Attached hereto are Authorizations for your use. If additional Authorizations
      are needed, you may make copies of the form for your use.)

      ANSWER TO INTERROGATORY NO. 1
      Objection. Defendant’s Interrogatory calls for Plaintiff to divulge sensitive
      information that is not likely to be relevant. Plaintiff has provided Defendant
      with a proposed protective order, but has not received a response as of the date
      of Plaintiff’s Response. Plaintiff will supplement this response and provide
      Defendant with the information requested, but only after a protective order
      has been entered by the court.

      SUPPLEMENTAL ANSWER TO INTERROGATORY NO. 1
      Subject to the foregoing General Objections, Plaintiff reserves the right to
      supplement and answers as follows:
             a.    Dr. Reza Kahnamouei
                   43301 Commons Dr.
                   Clinton Township, MI 48048
                   (586) 745-3006
             b.    anxiety, major depression, and post-traumatic stress disorder
             c.    I cannot recall exact dates, but I was told by my primary care
      physician that I suffered from the above. He took me off work for five days
      and provided the following prescription medication: Paxil and Xanax. I was
      referred to a psychiatrist, but I have lost my medical insurance and cannot
      afford to seek further treatment.

(Docket No. 23-7)

      Defendant’s Interrogatory No. 1 only asked for information about doctors and

medical personnel that “examined or treated you for any illness, injury, or

condition you allege in the Complaint that you suffered as a result of the alleged

conduct of the Defendant.” Plaintiff truthfully and fully answered Defendant’s

interrogatory by giving the name of Dr. Kahnamouei, the only physician who treated

her for any illness, injury or condition that she alleged she suffered as a result of
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Defendant’s conduct. No physician or medical professional at Henry Ford Health

System examined or treated Plaintiff for “any illness, injury or condition [she]

allege[d] in the Complaint that [she] suffered as a result of the alleged conduct of

the Defendant.” Therefore, Plaintiff’s answer did not mention any medical treatment

at Henry Ford Health System. Accordingly, she did not have to execute any

authorization to allow Defendant to obtain her medical and psychological records

from Henry Ford Health System. Defendant’s interrogatory simply did not ask for

this information.

      12.    Plaintiff admits that her Answer and Supplemental Answer to

Interrogatory No. 4 were as follows:

      INTERROGATORY NO. 4

            With the exception of your employment with Defendant, identify each
      and every employment you have had from 2009 to the present, and for each
      employment identify:
            a.    The name and address of the employer;
            b.    The dates of employment; and
            c.    Whether you are presently employed and, if not, the
                  reason.

            For each and every employer listed above, please complete, sign, and
      return with your answers to these interrogatories an Authorization for the
      Release and Disclosure of Employment Records. (Attached hereto is an
      Authorization for your use. If additional Authorizations are needed, you may
      make copies of the form for your use.)

      ANSWER TO INTERROGATORY NO. 4
      Objection. Defendant’s Interrogatory is not calculated to lead to relevant
      information, is overly broad, and unduly burdensome. Plaintiff further puts
      Defendant on notice that if Defendant unilaterally contacts any subsequent
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      employer or prospective employer and puts them on notice of this action
      without seeking the information through less intrusive means, Plaintiff
      believes such an act as a retaliatory act and will seek recourse for such
      retaliatory act. Plaintiff reserves the right to supplement this answer in
      accordance with subsequently discovered or developed information. In the
      spirit of discovery, subject to and without waiving the foregoing objection and
      Plaintiff’s General Objections, Plaintiff answers as follows:
      These documents were lost in a flood. I worked at Right at Home in Sterling
      Heights, but I do not possess records or recall the dates anymore. I left
      employment there to start work at Henry Ford. Currently, I work at Davis
      Smith Inc. My start date was June 11, 2014. Please see attached documents.

      SUPPLEMENTAL ANSWER TO INTERROGATORY NO. 4
      Subject to the foregoing General Objections, Plaintiff reserves the right to
      supplement and answers as follows:

      After Plaintiff lost her home, she was forced to leave Davis Smith Inc. and
      relocate on December 31, 2014. She has recently accepted employment with
      Leelin Home Health Care on January 15, 2015 located at 352 E Houghton
      Ave., West Branch, MI 48661.

(Docket No. 23-7)

      13.    Plaintiff only admits that the generic authorizations state, “This

Authorization will expire six (6) months from the date it is signed.” (Docket No. 23-

4) Defendant’s counsel never explained to Plaintiff’s counsel that it required new

authorizations due to the expiration of the prior authorizations after six months. And

Defendant’s counsel failed to bring the six-month expiration of the authorizations to

the attention of Plaintiff’s counsel when it sought concurrence in this motion. Since

the filing of Defendant’s motion brought it to Plaintiff’s attention that she had to

execute a new authorization due to the six-month expiry date of the previous

authorization, she has provided Defendant with a new authorization for employment
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records. In any event, without honoring the six-month expiration of Plaintiff’s

authorization, on February 13, 2015, Defendant issued a new subpoena for updated

records to Davis Smith, Inc. (Exhibit 3) This issue is therefore entirely moot.

      14.    Plaintiff only admits that Defendant’s counsel again emailed Plaintiff’s

counsel on February 10, 2015, requesting signed authorizations for medical and

psychological records from Henry Ford Health System. (Docket No. 23-9) As

explained above, Plaintiff did not have to provide signed authorizations that were

not responsive to Defendant’s formal discovery requests.

      15.    Plaintiff admits that Defendant’s counsel again exchanged emails with

Plaintiff’s counsel on February 12, 2015. (Docket No. 23-10) Plaintiff’s counsel

pointed out: “Plaintiff provided you with signed authorizations for the medical

records requested in Defendant’s Interrogatories and Requests to Produce.” (Docket

No. 23-10, Pg. ID 492) Further, Plaintiff’s counsel explained that “we have turned

over all authorizations that were formally requested by your Interrogatories and

Requests to Produce with the exception of a job that Plaintiff just started a couple of

weeks ago. You are making up discovery issues to stall my depositions.”

      Plaintiff’s counsel’s response was completely justified. First, Defendant’s

Interrogatory No. 1 only asked for information about doctors and medical personnel

that “examined or treated you for any illness, injury, or condition you allege in

the Complaint that you suffered as a result of the alleged conduct of the


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Defendant.” Plaintiff truthfully and fully answered Defendant’s interrogatory by

giving the name of Dr. Kahnamouei, the only physician who treated her for any

illness, injury or condition that she alleged she suffered as a result of Defendant’s

conduct. No physician or medical professional at Henry Ford Health System

examined or treated Plaintiff for “any illness, injury or condition [she] allege[d] in

the Complaint that [she] suffered as a result of the alleged conduct of the Defendant.”

Therefore, Plaintiff did not have to execute any authorization to allow Defendant to

obtain her medical and psychological records from Henry Ford Health System.

Defendant’s interrogatory simply did not ask for this information.

      Second, Plaintiff had previously provided an authorization to obtain records

from Davis Smith, Inc. and Defendant had subpoenaed and obtained the records

from Davis Smith, Inc. (Exhibit 2) Defendant never pointed out to Plaintiff that she

had to execute a new authorization due to the expiration of the previous one. If

Defendant had done so, Plaintiff would have complied with the request. Instead,

Defendant rushed to Court by filing this Motion to Compel. Now that Plaintiff has

become aware of the six-month expiry date of the authorization, she has provided

Defendant with a new authorization for employment records.

      16.    Plaintiff denies that she failed to cooperate with Defendant’s request

for discovery. She fully and truthfully answered Defendant’s Interrogatories No. 1

and 4 and she executed all authorizations that Defendant formally requested.


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 Although Defendant by email requested her to execute authorizations for Henry Ford

 Health System, there was never a formal request for discovery of these records.

       17.   Plaintiff only admits that Defendant is moving the Court for an order

 compelling Plaintiff to execute authorizations and for an order awarding it

 reasonable expenses. Plaintiff submits that Defendant is not entitled to obtain

 authorizations for the release of medical or psychotherapy records that are not

 included in any of Defendant’s formal discovery requests.

       Further, Defendant never explained to Plaintiff that she had to execute a new

 authorization for employment records due to the sixth-month expiration of her

 previous authorization. Now that Plaintiff has become aware of the six-month expiry

 date of the authorization, she has provided Defendant with a new authorization for

 employment records.

       Defendant is not entitled to an award of reasonable expenses for filing a

 motion regarding medical records it never formally requested and regarding

 supplemental employment records without explaining to Plaintiff the basis of this

 request.

       18.   Plaintiff admits that Defendant sought concurrence in this Motion. But

 Plaintiff denies that Defendant explained to her that its request to execute new

 authorizations for employment records was based on the sixth-month expiration date

 of her previous authorizations. Had Defendant made Plaintiff aware of this fact,


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 Plaintiff would have concurred in part with the Motion and executed a new

 Authorization for the Release and Disclosure of Employment Records.

       WHEREFORE, Plaintiff respectfully requests that this Honorable Court

 deny Defendant’s Motion to Compel Discovery; deny Defendant’s request for an

 Order awarding it costs and expenses; deny Defendant’s request for additional relief;

 and award Plaintiff costs and expenses for having to respond to this instant Motion.

                                               Respectfully submitted,
                                               MILLER COHEN, P.L.C.

                                        By:    /s/Keith D. Flynn
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 Dated: March 4, 2015




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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


 NATALIE REESER,
                                         Case No.: 2:14-cv-11916-GCS-MJH
             Plaintiff,
                                         Hon. George Caram Steeh
 v.                                      Magistrate Judge Michael Hluchaniuk

 HENRY FORD HOSPITAL,

             Defendant.
                                                                               /
 MILLER COHEN, P.L.C.                     VARNUM LLP
 Keith D. Flynn (P74192)                  Terrence J. Miglio (P30541)
 Ada A. Verloren (P57541)                 Barbara E. Buchanan (P55084)
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                                                                               /

                        BRIEF IN SUPPORT OF
      PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO COMPEL
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                  STATEMENT OF ISSUES PRESENTED

 I.     WHETHER THE COURT SHOULD DENY DEFENDANT’S REQUEST
        THAT IT COMPEL PLAINTIFF TO PRODUCE EXECUTED HFHS
        PATIENT INFORMATION RELEASE AUTHORIZATIONS AND
        AUTHORIZATION FOR DISCLOSURE OF PSYCHOTHERAPY NOTES
        WHERE    DEFENDANT    NEVER   FORMALLY    REQUESTED
        PRODUCTION OF SUCH DOCUMENTS?

            Plaintiff answers “yes.”

 II.    WHETHER THE COURT SHOULD DENY DEFENDANT’S REQUEST
        FOR REASONABLE EXPENSES, INCLUDING ATTORNEYS’ FEES
        WHERE DEFENDANT BROUGHT THIS MOTION WITHOUT
        FORMALLY REQUESTING PRODUCTION OF HFHS HEALTH
        RECORDS AND WITHOUT EXPLAINING TO PLAINTIFF THE BASIS
        FOR REQUESTING NEW AUTHORIZATIONS FOR EMPLOYMENT
        RECORDS?

            Plaintiff answers “yes.”

 III.   WHETHER THE COURT SHOULD AWARD PLAINTIFF HER
        REASONABLE EXPENSES, INCLUDING ATTORNEYS’ FEES
        INCURRED IN HAVING TO RESPOND TO THIS MOTION?

            Plaintiff answers “yes.”




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                 PRIMARY CONTROLLING AUTHORITY

 CASES                                                               PAGE(S)

 Garrison v. Dutcher, 2008 WL 938159
       (W.D.Mich. April 7, 2008)…………………………………………..                      3

 Patterson v. Kim, 2009 WL 1911819
       (W.D. Mich. July 1, 2009)…………………………………………..                      3

 Sithon Maritime Co. v. Holiday Mansion,
       1998 WL 182785 at *2 (D.Kan.1998)………………………………                    3

 Khalil v. Transunion, LLC,
       2008 WL 4642857 at *3 (E.D. Mich. Oct. 20, 2008)……………….          5




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                     BRIEF IN SUPPORT OF
   PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO COMPEL

                              I.    INTRODUCTION

       Defendant’s motion to compel is entirely frivolous and devoid of any merit.

 It claims that Plaintiff refused to execute (1) an authorization for medical records

 from Henry Ford Health System (“HFHS”); (2) an authorization for employment

 records from a previous employer, Davis Smith, Inc., and (3) an authorization for

 employment records from Plaintiff’s current employer. Plaintiff responds to these

 claims as follows: First, Plaintiff refused to execute an authorization for medical

 records from HFHS because there was no formal discovery request for these

 documents. Second, Plaintiff never refused to execute an authorization for

 employment records from Davis Smith, Inc. In fact, Plaintiff executed a blank

 authorization for all employment records and Defendant subpoenaed records from

 Davis Smith, Inc. Defendant never brought it to Plaintiff’s attention that she had to

 execute new authorizations for employment records due to the expiry of the previous

 authorization after six months. In any event, without honoring the six-month

 expiration of Plaintiff’s authorization, on February 13, 2015, Defendant issued a new

 subpoena for updated records to Davis Smith, Inc. (Exhibit 3) This issue is therefore

 entirely moot. Third, Plaintiff never refused to execute an authorization for

 employment records from her current employer. She only started this employment
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 about two weeks before Defendant filed its motion and therefore she had not yet

 provided Defendant with the signed authorization.

                         II.   STATEMENT OF FACTS

       The facts appear in Plaintiff’s Response to Defendant’s Motion to Compel.

                               III.   ARGUMENT

 A.    Defendant’s motion seeking an order to compel Plaintiff to execute a
       release for production of medical records from HFHS is inappropriate
       because there is no outstanding discovery directed to Plaintiff.

       Defendant’s counsel emailed Plaintiff’s counsel on October 1, 2014, asking

 Plaintiff to execute the attached HFHS Medical and Psychotherapy Authorizations.

 (Docket No. 23-5) This email was an informal request to release medical records;

 it was not a request for production of documents under Fed.R.Civ.P. 34. Also,

 Defendant has not met the requirements for an order to compel discovery as

 authorized under Fed.R.Civ.P. 37(a)(3)(B), which provides in pertinent part as

 follows:

       A party seeking discovery may move for an order compelling an
       answer, designation, production, or inspection. This motion may be
       made if:
             (i)   a deponent fails to answer a question asked under Rule 30
                   or 31;
             (ii) a corporation or other entity fails to make a designation
                   under Rule 30(b)(6) or 31(a)(4);
             (iii) a party fails to answer an interrogatory submitted under
                   Rule 33; or
             (iv) a party fails to respond that inspection will be permitted—
                   or fails to permit inspection—as requested under Rule 34.


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       Federal courts have denied motions to compel the production of documents

 where the movant failed to make a formal discovery request for the documents. See

 Garrison v. Dutcher, 2008 WL 938159 (W.D.Mich. April 7, 2008) (Exhibit 4);

 Patterson v. Kim, 2009 WL 1911819 (W.D. Mich. July 1, 2009) (Exhibit 5). In

 Sithon Maritime Co. v. Holiday Mansion, 1998 WL 182785 at *2 (D.Kan.1998), the

 court explained the significant differences between formal and informal discovery:

       The Federal Rules of Civil Procedure provide necessary boundaries and
       requirements for formal discovery. Parties must comply with such
       requirements in order to resort to the provisions of Fed.R.Civ.P. 37,
       governing motions to compel. Informal requests for production lie
       outside the boundaries of the discovery rules. Formal requests may be
       filed under some circumstances, not letter requests. Formal requests
       require certificates of conferring and service. Letters do not. Formal
       requests certify representations of counsel under Fed.R.Civ.P. 11(b).
       Letters do not. Formal requests clearly implicate the duties of opposing
       parties to respond, pursuant to Fed.R.Civ.P. 34. Letters do not. Formal
       requests may occasion sanctions. Letters usually do not. To treat
       correspondence between counsel as formal requests for production
       under Rule 34 would create confusion and chaos in discovery.

 (Exhibit 6)

       Based on the record here, this Court has no basis to compel Plaintiff to

 produce her medical records in the absence of an outstanding request to produce the

 records. See Fed.R.Civ.P. 37. Accordingly, Defendant's motion should be denied.




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 B.    The Court should deny Defendant’s request for reasonable expenses,
       including attorneys’ fees where Defendant brought this motion without
       formally requesting HFHS health records and without explaining to
       Plaintiff the basis for requesting new authorizations for employment
       records.

       Fed. R. Civ. P. 37 provides as follows:

       (5) Payment of Expenses; Protective Orders.
       (A) If the Motion Is Granted (or Disclosure or Discovery Is Provided
       After Filing). If the motion is granted--or if the disclosure or requested
       discovery is provided after the motion was filed--the court must, after
       giving an opportunity to be heard, require the party or deponent whose
       conduct necessitated the motion, the party or attorney advising that
       conduct, or both to pay the movant's reasonable expenses incurred in
       making the motion, including attorney's fees. But the court must not
       order this payment if:
              (i)    the movant filed the motion before attempting in good
              faith to obtain the disclosure or discovery without court action;
              (ii) the opposing party's nondisclosure, response, or objection
              was substantially justified; or
              (iii) other circumstances make an award of expenses unjust.

       (B) If the Motion Is Denied. If the motion is denied, the court may
       issue any protective order authorized under Rule 26(c) and must, after
       giving an opportunity to be heard, require the movant, the attorney
       filing the motion, or both to pay the party or deponent who opposed the
       motion its reasonable expenses incurred in opposing the motion,
       including attorney's fees. But the court must not order this payment if
       the motion was substantially justified or other circumstances make an
       award of expenses unjust.

       (C) If the Motion Is Granted in Part and Denied in Part. If the motion
       is granted in part and denied in part, the court may issue any protective
       order authorized under Rule 26(c) and may, after giving an opportunity
       to be heard, apportion the reasonable expenses for the motion.

       Local Rule 7.1 requires that the party that anticipates filing a motion have a

 conference with the opposing party to determine if the relief that may be requested
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 will be opposed, or make a “reasonable effort” to have such a conference. Rule

 37(a)(1), specifically relating to discovery requests, requires that, before filing a

 motion to compel, the party seeking the discovery must confer or attempt to confer,

 in good faith, with the opposing party to determine if the discovery can be obtained

 without a court order. In Khalil v. Transunion, LLC, the court denied a plaintiff’s

 motion to compel finding that the “plaintiff did not have a good faith basis to believe

 that the discovery requests . . . were viable when the present motion was filed and,

 therefore, the motion was not substantially justified” within the meaning of Rule

 37(a)(5)(B).” 2008 WL 4642857 at *3 (E.D. Mich. Oct. 20, 2008) (Exhibit 7). The

 court ordered the plaintiff to pay the defendant $500.00 in expenses and fees. Id.

       Similarly here, Defendant did not have a good faith basis to believe that its

 discovery requests were viable when it filed the present motion. First, it never made

 a formal discovery request for the release of medical records from HFHS. Second,

 it had already subpoenaed records from Davis Smith, Inc. And it did not explain to

 Plaintiff that it needed a new authorization to subpoena further records after six

 months. Third, Plaintiff did not object to the release of employment record of her

 current employer. She had not yet executed an authorization because she only started

 her employment weeks before Defendant filed its motion. As a result, Defendant’s

 motion to compel should be denied and Defendant should be ordered to pay Plaintiff

 reasonable expenses and fees under Rule 37(a)(5)(B).


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 C.    The Court should award Plaintiff her reasonable expenses, including
       attorneys’ fees incurred in having to respond to this motion.

       Plaintiff is seeking an award of legal fees under Fed.R.Civ.P. 37 in

 conjunction with the denial of Defendant’s motion to compel. Rule 37 provides in

 relevant part:

       If the motion is denied, the court may issue any protective order
       authorized under Rule 26(c) and must, after giving an opportunity to be
       heard, require the movant, the attorney filing the motion, or both to pay
       the party or deponent who opposed the motion its reasonable expenses
       incurred in opposing the motion, including attorney's fees. But the court
       must not order this payment if the motion was substantially justified or
       other circumstances make an award of expenses unjust.

 Fed.R.Civ.P. 37(a)(5)(B).

       Here, Defendant’s motion was not substantially justified. “A motion is

 ‘substantially justified’ if it raises an issue about which ‘there is a genuine dispute,

 or if reasonable people could differ as to the appropriateness of the contested

 action.’” Doe v. Lexington–Fayette Urban County Gov't, 407 F.3d 755, 766 (6th

 Cir.2005) (citing Pierce v. Underwood, 487 U.S. 552, 565, 108 S.Ct. 2541, 101

 L.Ed.2d 490 (1988)). The court explained the threshold requirements of the

 discovery rules in Abrams v. First Tennessee Bank Nat. Ass’n, 2006 WL 3299893 at

 *2 (E.D. Tenn. Nov. 2, 2006) (Exhibit 8) as follows:

       The appropriate procedure for settling discovery disputes are succinctly
       laid out in the Federal Rules of Civil Procedure, the Local Rules of this
       Court, and the Amended Scheduling Order. According to this
       procedure, the parties first must confer in good faith, or at the very least
       attempt to confer, to resolve the dispute. If a dispute survives the initial
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       step, the parties should participate in a telephone conference with the
       magistrate assigned to the case. Finally, as a last resort, the aggrieved
       party should file a motion to compel.

       Here, there was no dispute that Defendant had not formally asked for the

 release of medical records. Also, there was no dispute that Plaintiff has been willing

 to authorize the release of employment records and that she had already given a

 blanket release. If Defendant had explained that it needed a new release due to the

 expiration of the previous one, she would have complied without any further

 question or delay. But Defendant simply went ahead and filed a motion without

 communicating to Plaintiff the basis for the motion. Under these circumstances, this

 Court should impose sanctions against Defendant.

                               IV.    CONCLUSION

       WHEREFORE, Plaintiff respectfully requests that this Honorable Court

 deny Defendant’s Motion to Compel Discovery; deny Defendant’s request for an

 Order awarding it costs and expenses; deny Defendant’s request for additional relief;

 and award Plaintiff costs and expenses for having to respond to this instant Motion.




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                                          Respectfully submitted,
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 Dated: March 4, 2015




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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


 NATALIE REESER,
                                             Case No.: 2:14-cv-11916-GCS-MJH
              Plaintiff,
                                             Hon. George Caram Steeh
 v.

 HENRY FORD HOSPITAL,

              Defendant.
                                                                                  /
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                                                                                  /

                           CERTIFICATE OF SERVICE

       I hereby certify that on March 4, 2015, I electronically filed the foregoing

 document(s) with the Court using the ECF system, which will send notification of

 such filing to all counsel of record.
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                                          Respectfully submitted,
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 Dated: March 4, 2015




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